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11 David Meske
12
13                            UNITED STATES DISTRICT COURT
14                          CENTRAL DISTRICT OF CALIFORNIA
15                                 WESTERN DIVISION
16
     David Meske,                            Case No.: 2:13-cv-05505-DMG-RZ
17
                      Plaintiff,             VOLUNTARY WITHDRAWAL
18
19         vs.
20
   Verizon Wireless; and DOES 1-10,
21 inclusive,
22
                  Defendants.
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     2:13-cv-05505-DMG-RZ                                   VOLUNTARY WITHDRAWAL
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 1               NOTICE OF WITHDRAWAL OF COMPLAINT AND
 2             VOLUNTARY DISMISSAL OF ACTION WITH PREJUDICE
                          PURSUANT TO RULE 41(a)
 3
 4
                   David Meske (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
 5
     complaint and voluntarily dismisses this action, with prejudice, pursuant to Fed. R.
 6
     Civ. P. 41(a)(1)(A)(i).
 7
 8                                              By: /s/ Tammy Hussin
 9                                              Tammy Hussin, Esq.
                                                Lemberg & Associates, LLC
10                                              Attorney for Plaintiff, David Meske
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     2:13-cv-05505-DMG-RZ                                           VOLUNTARY WITHDRAWAL
Case 2:13-cv-05505-DMG-RZ Document 7 Filed 09/09/13 Page 3 of 4 Page ID #:32



 1                                  CERTIFICATE OF SERVICE
 2
            I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On September 9, 2013, I served a true copy of
 5 foregoing document(s): VOLUNTARY WITHDRAWAL.
 6
 7 BY ELECTRONIC FILING: I hereby                Attorney for Defendants Verizon
 8 certify that on September 9, 2013, a copy Wireless
   of the foregoing document was filed
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15
16          I am readily familiar with the firm's practice of collection and processing
17 correspondence for mailing. Under that practice it would be deposited with the U.S.
18
   Postal Service on that same day with postage thereon fully prepaid in the ordinary
19
20 course of business. I am aware that on motion of the party served, service is presumed
21 invalid if postal cancellation date or postage meter date is more than one day after the
22
   date of deposit for mailing in affidavit.
23
24          I hereby certify that I am employed in the office of a member of the Bar of this
25 Court at whose direction the service was made.
26
         Executed on September 9, 2013.
27
28
                                                 3
     2:13-cv-05505-DMG-RZ                                            VOLUNTARY WITHDRAWAL
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 1
 2                                        By: /s/ Tammy Hussin
                                          Tammy Hussin, Esq.
 3                                        Lemberg & Associates, LLC
 4                                        Attorney for Plaintiff, David Meske

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